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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FREE HOLDINGS INC.,
                                                         Index No. 1:22-cv-00881 (LGS)
                      Plaintiff,

          -against-                                      MOTION FOR ADMISSION
                                                         PRO HAC VICE OF
KEVIN McCOY, SOTHEBY’S INC., NAMELESS                    BRIDGETTE C. (nee Boyd) GERSHONI
CORPORATION, and ALEX AMSEL A/K/A
SILLYTUNA,

                      Defendants.


       Pursuant to Rule 1.3 of the Local Rules of the United States District Courts for the Southern

and Eastern Districts of New York, Bridgette C. (nee Boyd) Gershoni hereby moves this Court for

an Order for admission to practice pro hac vice to appear as counsel for Defendant, Sotheby’s Inc.

in the above-captioned action.

       I am in good standing of the bars of the State of California and the District of Columbia,

and there are no pending disciplinary proceedings against me in any state or federal court. I have

never been convicted of a felony. I have never been censured, suspended, disbarred, or denied

admission or readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.


Dated: March 2, 2022                         Respectfully submitted,

                                             /s/ Bridgette C. Gershoni
                                             Bridgette C. (nee Boyd) Gershoni
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                                             Attorney for Defendant Sotheby’s Inc.
